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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

BLANTON ROBERTS,                               *

                               Plaintiff,      *
       v.
                                               *
OFFICER MARCUS TAYLOR, et al.,
                                               *

       Defendants/Cross Defendants,            *

                                             o0o              Civil No.: CCB-18-1940

BALTIMORE POLICE DEPARTMENT, *

       Defendant/Cross-Plaintiff,              *

       v.                                      *

OFFICER MARCUS TAYLOR, et al.,                 *

       Defendants/Cross-Defendants.            *

        *   *    *     *   *    o0o  *    *    *    *    *
   JOINT MOTION TO BIFURCATE AND STAY DISCOVERY OF CROSS-CLAIM

       Defendant/Cross-Plaintiff, the Baltimore Police Department (“BPD”) and Co/Cross-

Defendants, Wayne Jenkins, Marcus Taylor, Evodio Hendrix, and Maurice Ward (collectively

“Officer Defendants”), by and through undersigned counsel, respectfully file this Joint Motion,

pursuant to Federal Rules of Civil Procedure 42(b) and 26(d), to 1) bifurcate the trial of Plaintiff’s

claims against Officer Defendants from the contingent cross-claim BPD asserted against the

Officer Defendants, and 2) to stay all discovery related to BPD’s cross-claim against the Officer

Defendants, pending resolution of Plaintiff’s claims against Officer Defendants. In support of this

Motion, BPD and Officers Defendants state as follows:

       1.       BPD asserted a cross-claim against the Officer Defendants for declaratory relief

regarding whether their actions against Plaintiff were committed outside the scope of the Officer
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Defendants’ employment as BPD law enforcement officers and thus, raising the issue of whether

the City of Baltimore or BPD would be required to indemnify a monetary judgment rendered

against them on Plaintiff’s underlying claims.

       2.       As the Court acknowledged in its Order (ECF No. 80) “[w]hether the officers were

acting in the scope of their employment cannot be determined before a full development of the

facts in this case in any event[,]” and thus, this Court denied Cross-Defendants, Evodio Hendrix

and Maurice Ward’s Motion to Dismiss without prejudice noting “[t]here is no need to decide the

procedural sufficiency of the purported Rule 13(g) cross-claim at this time.” ECF No. 80. In other

words, without full adjudication of Plaintiff’s claims against the Officer Defendants, the Court will

not reach BPD’s cross-claim for consideration.

       3.       Following the Court’s ruling, undersigned counsel for the Officer Defendants and

BPD (collectively, “the cross-claim parties”) discussed the status of the suit and ongoing claims

therein.

       4.       Most recently, on February 20, 2020, the cross-claim parties discussed the

possibility of filing the instant motion to stay discovery, and to bifurcate BPD’s cross-claim from

Plaintiff’s underlying claims against the Officer Defendants.

       5.       The cross-claim parties believe that this motion will promote judicial efficiency,

expediency, economy, and eliminate the need for burdensome discovery until and after the

resolution of Plaintiff’s underlying claim against the Officer Defendants.

       6.       The cross-claim parties further believe that the aforementioned relief would reduce

the costs and burden associated with discovery on the allegations at issue in BPD’s cross-claim.

       7.       Undersigned file this joint motion in good faith, and this motion will not result in

any undue delay or burden.




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       8.       Undersigned counsel for BPD has obtained express authorization from counsel for

the Officer Defendants to file this joint motion with the Court.

       WHEREFORE, BPD and Officer Defendants, respectfully requests that this Court issue

an Order: (1) bifurcating the proceedings in the above-captioned action; (2) staying all discovery

as to BPD’s cross-claim against the Officer Defendants, pending the outcome of the proceedings

between Plaintiff and Officer Defendants; and any other relief the Court deems just and proper.


Respectfully submitted,


 Andre M. Davis (No. 362)
 Baltimore City Solicitor

        /s/                                             /s/
 Alexa E. Ackerman (No. 19943)                  Neil E. Duke (Federal Bar No.: 14073)
 ASSISTANT SOLICITOR                            Baker Donelson
                                                A Professional Corporation
 Justin S. Conroy (No. 28480)                   100 Light Street
 Kara K. Lynch (No. 29351)                      Baltimore, MD 21202-1643
 CHIEF SOLICITORS                               (410) 862-1198
                                                (443) 263-7598 – Fax
 Baltimore City Law Department                  Attorney for Wayne Jenkins and Marcus Taylor
 Office of Legal Affairs
 100 N. Holliday Street, Room 101                       /s/
 Baltimore, Maryland 21202                      Christopher C. Jeffries (Fed. Bar. No. 28587)
 Telephone: (410) 396-2495                      KRAMON & GRAHAM, P.A.
 Facsimile: (410) 396-2126                      One South Street, Suite 2600
 alexa.ackerman@baltimorecity.gov               Baltimore, Maryland 21202
 Attorneys for Baltimore Police Department      Phone: (410) 752-6030
                                                Fax: (410) 539-1269
                                                cjeffries@kg-law.com
                                                Attorney for Evodio Hendrix and Maurice Ward




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of February 2020, a copy of the foregoing

Motion to Bifurcate and Stay Discovery and proposed Order were filed with the United States

District Court for the District of Maryland and forwarded to all counsel of record via CM/ECF.



                                                                /s/
                                                   Alexa E. Ackerman (No. 19943)




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